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                          . EXHIBIT 8




                                                               EXHIBIT 8
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Melinda A. Balian

From:                        Melinda A. Balian
Sent:'                       Wednesday, January 10, 2018 6:56 PM
To:                          'Elizabeth Marzotto Taylor'
Cc:                          Deborah Gordon; Irina Vaynerman; Gregory M. Meihn; Krista M. Woerfel
Subject:                     Direct contact with Defendants


Elizabeth:

We have been made aware that your offlce has made contact with OUr clients by serving them
witfi··subp6enasfOr .depositiOns··fOr··wliiclfUotices. have already· been··seUt. Please·cease
contacting our clients. If you wish to pursue this practice, then you are to do so through our
office.

Further, Iwill be filing a motion to modify the subpoenas which you have served given your
offices stance on the location of our clients' depositions and insistence that they be taken at
your effice and pursuant to 7.1 and seeking your ccacurreneethsrein.

Thank you,
Melinda
